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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                    Plaintiffs,                  Civil Action No. 3:22-cv-00211-SDD-SDJ

              v.                                 Chief Judge Shelly D. Dick

KYLE ARDOIN, in his official capacity as         Magistrate Judge Scott D. Johnson
Secretary of State for Louisiana,

                    Defendant.

EDWARD GALMON, SR., et al.,

                    Plaintiffs,                  Consolidated with
                                                 Civil Action No. 3:22-cv-00214-SDD-SDJ
              v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                    Defendant.

                     DEFENDANT STATE OF LOUISIANA’S
             NOTICE OF ENACTMENT OF NEW CONGRESSIONAL MAP

       Pursuant to the Court’s November 2023 Minute Entry, (ECF No. 315), and the Court’s

subsequent Order granting the Parties Consent Motion for a Scheduling Order, (ECF No. 330), the

State hereby notifies the Court of the congressional map newly enacted by the Louisiana

Legislature (the “New Map”). 1

       On January 8, 2024, Governor Landy convened a special session of the Louisiana

Legislature to “redraw our congressional districts.” 2 On January 19, 2024, the Louisiana




1
 See Act 2, S.B. 8, 2024 1st Extraordinary Sess. (La. 2024) (attached herein as appendix A).
2
   Governor Jeff Landry Assumes Office, Office of the Governor (Jan.                           8,
2024) https://gov.louisiana.gov/news/governor-jeff-landry-assumes-office.
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Legislature passed the New Map, containing two majority-black districts. 3 And, on January 22,

2024, Governor Landry signed the New Map into law. 4 For the Court’s convince, below is the

New Map:




       In relevant part, Plaintiffs’ Complaint sought (1) a declaration that the then-effective

congressional map (the “Previous Map”) violated the Section 2 of the Voting Rights Act, (2) an




3
   Emily Cochrane, Louisiana Lawmakers Approve Map That Empowers More Black Voters,
N.Y. Times (Jan. 19, 2024) https://www.nytimes.com/2024/01/19/us/politics/louisiana-voting-
map.html.
4
  See supra n.1.

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injunction against the Previous Map, and (3) a new map that “includes two districts in which Black

voters have an opportunity to elect candidates of their choice.” (ECF No. 1 at 52–53).

       Given that the Previous Map is no longer law, and that the New Map contains two majority-

black districts, this case is now moot.



Dated: January 23, 2024                             Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

        I hereby certify that, on this 23rd day of January 2024, the foregoing has been filed with
the Clerk via the CM/ECF system that has sent a Notice of Electronic filing to all counsel of
record.

                                             /s/ Carey Tom Jones
                                             Carey Tom Jones




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